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AO 88}3 (Rev‘ 12/l3} Subpoena to Producc Documonts, lnl“ormation, or Ob_iccts otto Permit Inspeetion ot`Prerniscs in a Civil Action

 

 

UNrrED STATES DlsTRICT CoUR'r

for the
Middle District ot`North Carolirra

 

 

Pfoinfr'jj’
V

‘ Civil Action No. 1513*CV-558
Patrlck Lloyd l\/|cCrory, et a§.

 

 

 

\._/\_/\.../\.../\./\./

Defendont

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OB.]ECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTI()N

TO; Senator Phil Berger

 

(Nome of;)erson to whom this subpoena is directed)

E{ Proa’uctfon; YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents electronically stored int`ormation, or objects, and to permit §nspection, copying testing, or sampling of the
material: See_Attachment A.

 

Pla¢€f seem Stein, nn Fulten Wa\ker a owen, 312 West Dsf@ and Tim€‘-
Frankrm street chapel Hsz, Nc 27516 mag/2044 mm am

 

 

 

 

l:| [n,spection ofPremises: YOU ARE COMMANDED to permit entry onto the designated preinises, land, or
other property possessed or controlled by you at the tirne, date, and §ocation set forth below, so that the requesting party
may inspect, measnre, survey, photograph test, or sample the property or any designated object or operation on it.

 

Place: _ _ Date and T§me:

 

 

 

 

 

 

The 'l"oilowing provisions of Fed. R. Civ. P. 45 are attached - Rule 45(0), relating to the place ot`cornpliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potentiai consequences of not doing so.

CLERK OF CO URT
‘ OR
/s/ Adam Stein
Signoture Qfoer/\’ or Depufy C!er)'c Atto."ney’s signature

 

 

 

The name, address, e~maii address, ased telephone number of the attorney representing (name ofparzy)
North Carelina Srate C<>nference of the NAACP, et al. ,Who issues sr requests this subpoena aver

 

Ac|am Stein, Tio Fu|ton Wa§ker & Owen, 312 West Frank|ln Street, Chape| l-|i||, NC 27516; astein@tinfo|ton.com
ns Q»:>An-'/'oa€)

_ Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to Whom
it is directed. Fed. R. Civ. P. 45(3)(4).

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AO 883 (Re\/. |Z/ifi) Subpoc-na to Produce Documents, lnforrnation, or Objects or to Permit inspection ot` Premises in a Civi| Aclion (Pag,e 2)

Civil Action No. ili3'CV-658

PROOF O`F S`ERVICE
(This section should not befiled with the court unless required by Fed. R. Civ. P. 45.)

 

 

l received this Sle}JOena for (nctme of individual and tit!e, U“ciny)

 

On (rt’otc)

 

ij i served the subpoena by delivering a copy to the named person as follows:

 

 

Orl (ctcite) ; 01"

 

il l returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on beha§f of the United States, or one oi` its officers or agents, t have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by iaw, in the amount of

iii

l\/Iy fees are $ for travel and $ for services, for a total of $ 0.00

l declare under penalty of perjury that this information is true.

 

Date:

 

3. ` Servei' ’s signature

 

Printed name and title

 

Ser'ver ’s address

Addit§onal information regarding attempted Service, etc.:

 

 

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AO 883 (Rcv. |2/1 3} Subpoena to Producc Documents1 lnformation, or Objects or to Pcrmit lnspection of Premiscs ina Civii Action(l’age 3)

 

Federai Rule of Civil Proccdure 45 (c), (d), (e), and (g) (Effective 1211/13)

(c) Piacc oI`Compliance.

(1) liar o Triol, Heoring, or Depasition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within iUG miles ofwhere tire person resides is empioyed, or
regularly transacts business in persco; 01'
(B) within the state where the person resides, is employed or regularly
transacts business in pcrson, if the person
(i} is a party or a party’s officer; or
(ii} is commanded to attend a trial and wouid not incur substantial
expense

(2) For Otlrci' Discovery. A subpoena may command:

(A) production ofdocumcnts, electronically stored information, or
tangible things at a place within li)() miles o[` where the person resides is
cmployed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected

(d) I’rotcctir\g a Pcrsou Subject to a Subpocna; Enfol'ccmcut.

(l) Avoiding Um!ue Bcirden or Expense; Srmctitms. A party or attorney
responsible for issuing and serving a subpoena must lake reasonable steps
to avoid imposing undue burden or expense ou a person subject lo the
subpoena 'i`he court for the district where compliance is required must
enforce this duty and impose an appropriate sanctiou_which may include
lost earnings and reasonable attorney’s fees_on a party or attorney who
fails to comply.

(2) Commonr! to Prt)ttttc’e Materic'rfs or Permr't Inspet.'tion.

(r\] Appeor'once Not chittrect. A person commanded to produce
documents, electronically stored inl"onnation, or tangible things, or to
permit the inspection of premises need not appear in person at the p§ace of
production or inspection unless also commanded to appear for a deposition,
hearing or trial.

(B) Ol)jections. A person commanded to produce documents or taugib£c
things or to permit inspection may serve on the party or attorney designated
in thc subpoena a written objection to inspecting copying, tcsting, or
sampling any or all of the materials or to inspecting the premiscs_or to
producing electronically stored information in the form or forms requested
"|`he objection must be served before tire earlier oflhc time specified for
compliance or 14 days alter tire subpoena is served If an objection is inade,
lhc foliowing rules apply;

(i) Al any time, on notice to the commanded person, the serving party
may rnove the court for thc district where compliance is required for an
order ccmpeliin`g production or inspectionl

(ii) Thcse acts may be required only as directed in the order, and the
order must protect a person who is neit§ier a party nor a party’s officer from
significant expense resulting nom comp§iance.

{3) Qnoslring or Modij_i#ing o Snbpoena.
(A} When tiequirect. On timely motion, thc court for the district where
compliance is required must quash or modify a subpoena that:
(i) fails to allow a reasonable time to compiy;
(ii} requires a person to comply beyond the geographical limits
specified in Rule 45{c);
(iii) requires disclosure of priviiegcd or other protected mattcr, if no
exception or waiver appiies; or
(iv) subjects a person to undue burden
(B} Wheu Permitted. ’fo protects person subject lo or affected by a
subpoena the court for the district where compliance is required may, on
rnotion, quash or modify the subpoena if ii requires
(i) disclosing a trade secret or other confidential research,
developruent, or commercial lnfonnatiou', or

{ii) disclosing an unretaincd expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

[C) Speci}ji)r'ng C additions as an At'tei'notr've. lu thc circumstances
described in Rule 45{d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance cr production under specified
conditions iftiie serving party;

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardsliip; and

(ii) ensures that the subpoenaed person will be reasonably compensated

(e) Dutics in Responding to a Subpocua.

(I) Product`rzg Documents or Electronical'tv .S'torer! Inforomtion. 'l`hese
procedures apply to producing documents or electronicaliy stored
inl"onriation:

{A) Documeiits. A person responding to a subpoena to produce documents
hurst produce them as they arc kept in the ordinary course of business or
must organize and label them to correspond to thc categories in the demand

(B) Form_,'/or introducing Eiectronicolty Storeo' fnformotion Not Spec[/ied.
if a subpoena does not specify a form for producing electronically stored
informatiou, the person responding must produce it in a form or forms in
which it is ordinarity maintained or in a reasonably usable form or forms

(C) El`ectrom'c¢if/y Stoi'ed information Prodrrccct' in Oniy One Foi'm. T'he
person responding need not produce the same electronically stored
information in more than one form

(l)) furtccessi{):'e Efccti'onicoil`y Storerilnforuiottou. 'fhe person
responding need not provide discovery ot`clccu'onica[ly stored information
from sources that the person identities as not reasonably accessible because
ot` undue burden or cost (Jn motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost if that showing is
made, the court may nonethciess order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C}. The court may specify conditions for the discovery

(2) Ctrtimiug Privilege or Protection.

(A) information W."tiihctd. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial~preparation
material mule

(i) expressly make the claim; and

(ii) describe the nature of the withheld documcnls, communications or
tangible things in a manner thal, without rcveaiing information itself
privileged or protected, wili enable the parties to assess the claim.

(B) trrfor'motton Proo’uccd. lf information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation materiai, the person making the claim may notify any party
that received the information of.`the claim and the basis for it. Alier being
notit'lcd, a party must promptly returo, sequestcr, or destroy the specified
information and any copies it has; must not usc or disclose thc information
until the claim is resolved; must take reasonable steps to retrieve thc
information if the party disclosed it before being notilied; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the ciaim. The person who
produced the information must preserve the information until the cl airn is
resolved

(g) Contempt.

'l`iie court for the district where compliance is required_and also, alter a
motion is rransferrcd, the issuing court#may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

For access to subpoena malcrials, see Fed. R. Civ. P. 45{a} C.onmiittec Notc {20i3).

 

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ATTACHMENT A

 

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IN TI-IE UNITED STATES DISTRICT COURT
FOR THE h/II})DLE DISTRICT OF NORTH CAROLINA

)
r! NORTH CAROLINA STATE CONFERENCE OF )

THE NAACP, EMMANUEL BAPTIST CHURCH, )
NEW OXLEY HILL BAPTIST CHURCH, )
BETHEL A. BAPTIST CHURCH, COVENANT )
PRESBYTERIAN CHURCH, CLINTON )
TABERNACLE AME ZION CHURCH, )
)
)
)

 

BARBEE’S CHAPEL MISSIONARY BAPTIST
CHURCH, INC., ROSANELL EATON,

ARMENTA EATON, CAROLYN COLEMAN,
BAHEEYAH MADANY, JOCELYN FERGUSON-)
KELLY, FAITH JACKSON, and MARY PERRY, )

 

)
Plaintiffs, )
)
v. )
) _ Case No.: 1:13-CV-658
_ _ )
q PATRICK LLOYD MCCRORY, in his official )
E§‘ capacity as the Governor ofNorth Carolina, KlM )

WESTBROOK STRACH, in her official capacity as )
;: Exeeut_ive Di'reet_or of the North Caroiina St_ate )
E§l Boarcl of Elections, JOSHUA B-. HOWA`RD, in his )
5 official capacity as Chairman oftbe North Caroiina )
State Board of Elections, RHONDA K. AMOROSO,)
in her officiai capacity as Secretary of the North )
Caroiina State Board of Elections, JOSHUA D. )
MALCOLM, in his official capacity as a member of )
the North Carolina _State Board of Eieetions, PAUL )
J. FOLEY, in his official capacity as a member of )
the North Carolina State Board .of Elections and )
MAJA KRICKER, in her official capacity as a )
member of the North Caroiina State Board cf )
Eiections,

)

 

Defendants.

 

PLAINTIFFS’ FIRST SET OF REQUEST FOR PRODUCTION TO
SENATOR PH[L BERGER

 

Pursuant to Rules 26, 34, and 45 of the Federal Rules of Civii Procedure, Plaintiffs submit

their first set of requests for the production of documents and tangible things to Sen. Phii Berger. ln

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accordance with Rule 45, Sen. Phil `Berger shall respond to these requests for production and shall

produce the documents requested Responses are to be served to Tin Fulton Walker & Owen,

 

PLLC, 312 West Franklin Street, Chapel Hili, NC 27516, to the attention of Adarn Stein, vvithin
forty-five days of service of these requests for production Each document request is subject to the

lnstructions and Definitions preceding the specific requests.

 

INSTRUCTIONS

l. lf You object to any part of a request, set forth the basis for Your objection and
respond to all parts of the request to which You do not object.

2. lf any privilege is claimed as a ground for not producing a document or tangible
thing, provide a description of the basis of the claimed privilege and all information necessary for
the Plaintiffs to assess the claim of privilege

-i 3. In responding to these document requests, produce all documents available to You or
subject to Your reasonable access or controi. Documents requested are those in the actual or

constructive possession or control of You, Your attorneys, investigators, experts, and anyone else

 

acting on Your behalf.
i 4. Docurnents are to be produced as they are kept in the ordinary course of business
5. `Each request seeks the requested documents in their entirety, without abbreviation,
redaction, or expurgation, including all attachments or other matters affixed to them.
6. lf any otherwise responsive document was, but is no longer, in existence or in Your
possession, custody, or control, identify the type of information contained in the document, its
current or last known custodian, the location/address of such document, and the identity of all

persons having knowledge or who had knowledge of the document, and also describe in full the

 

circumstances surrounding its disposition from Your possession or control.

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7. All responsive documents in existence as of the date of production are to be
produced. Any documents created or obtained after that date are to be produced under Your
continuing obligation to supplement its production immediately upon the creation or development
of additional responsive documents

8. _ The singular form of a noun or pronoun includes the plural form, and the plural form
includes the singular.

9. The connectives “and” and “or” shall be construed either disjunctively or
conjunctively as necessary to bring within the scope of a request all responses that otherwise might
be construed to be outside of its scope.

l(). The relevant time period for these requests runs through the present, unless otherwise
stated

ll. These document requests are continuing in nature, up to and during the course of any
hearing in this proceedingl Documents and tangible things sought by these requests that You obtain
after You serve Your answers must be produced to counsel for the Plaintiffs by supplementary
answers or productions

12. All documents are to be produced in electronic form. To the extent documents can
be accurately represented in black and white, they should be produced in single page Tagged l`mage
File Format (TIFF), together with any related i`leld-delimited loadfiles (e.g. Concordance DAT,
CSV, OPT, LOG). The following fields should be included in the loadfiles: begin Bates number;
end Bates number; begin Attachment Bates number; end Attachment Bates number; custodian; date
sent (for e-mail messages); date modified (for email and non-email messages where information is
available); date created (for email and non-email messages Where information is available); author
(for email and non~emaii messages); to (for email messages); from (for email messages); cc (for

email messages); bcc (for email messages); subject {for email messages); filename (for

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electronically collected files); filepathway (for electronically collected files). All images should be
endorsed with a unique Bates number as well as appropriate confidentiality designationl The Bates
number should consist of a prefix which can be used to identify the producing party and a page
number.' These endorsements should not obstruct any portion of the text in the image. All
spreadsheet and presentation files, such as Excel and PowerPoint files, should be provided in native
format with a link to the native file in the loadfile.
DEFINITIONS

l. “Absentee ballot” shall mean a paper ballot issued to a voter who is unable to attend
a polling place in person on Election Day or during Early Voting.

2. “Concerning” as used herein means relating to, referring to, reflecting, regarding,
describing, evidencing, or constituting

3. “Communication” means any transfer of information of any type, whether written,
oral, electronic, or otherwise

4. “Document” means the complete original or a true, correct and complete copy and
any non-identical copies of any written or graphic manner, no matter how produced, recorded,
stored or reproduced, including, but not limited to, any writing, letter, envelope, telegram, electronic
mail, computer file, meeting minute, memorandum, statement, book, record, survey, map, study,
handwritten note, working paper, chart, tabulation, graph, tape, data sheet, data processing card,
database, printout, microfilm, index, appointment book, diary, diary entry, calendar, calendar entry,
desk pad, telephone message slip, note of interview or communication or any other data compilation
in Your possession, custody or control, including all drafts of all such documents, and all
documents You have provided to Yo_ur counsel. You are requested to produce all drafts and notes,
whether typed, handwritten, or otherwise, made or prepared in connection with such documents,

Whether or not used.

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5. ` “Early Voting” shall mean one~stop voting whereby a registered voter goes to their
county board of elections or an alternative location to vote prior to Election Day.

6. “H.B. 589” shall refer to Session Law 20l3-381/House Bill 589 ratified by the
General Assembly on luly 26, 20l3 and signed into law by the Governor on August 12, 20l3.

7. “ln-person voter fraud” shall mean attempted fraudulent voting by means of a person
claiming to be someone else in order to vote at a polling place in person on election day.

8. “Legislator” shall mean any member of the North Carolina General Assembly and
any of his or her employees, agents, representatives, or other personnel involved in the functions or
duties of the political office of that member.

9. “NC.DOT” shall mean the North Carolina Department of Transportation, including
the Division of l\/Iotor Vehicles.

l{). “Photo identification” shall mean a photo identification card that meets the
requirements to vote as set forth in H.B. 589.

ll. “Registered voter” shall mean all persons currently registered to vote in the State of
North Carolina’s database and all persons who may properly register to vote by the the close of
discovery in this case.

lZ. “Relating to” as used herein means concerning, referring to, reflecting, regarding,
describing, evidencing, or constituting

13._ “Same day registration” refers to the provisions of N,C. Gen. Stat. § l63-82.6A
before it was repealed by H.B. 589, which permitted qualified voters to register to vote in person
and then vote at one~stop voting sites located in each county.

l4. “You” means Senator Phil Berger and all of Your employees, agents, or
representatives, its counsel, and all employees, agents, or representatives of counsel. “You” shall

further include all predecessors in interest, parents, subsidiaries, partners, joint ventures, or other

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corporate affiliates of Senator Berger, and all of their employees, agents, or representatives, their
counsel, and all employees, agents, or representatives of counsel.
15. “Procedural irregularities” shall mean any legislative processes outside of standard

floor debate, amendments, tabling procedures, and passage by majority vote.

REOUESTS FOR PRODUCTION
REOUEST FOR PRODUCTION NO. 1:

All documents and communications received or created by you concerning the rationale,

purpose, implementation, and/or text of H.B. 589.

REOUEST FOR PRODUCTION NO._Z:

All documents concerning communications between you and your constituents regarding
any provision in H.B. 589 or any other election law proposed during the 2013 session of the General

Assernbly.

REOUEST FOR PRODUCTION NO. 3:

All documents concerning communications between you and any other legislator in the
North Carolina General Assembly regarding any provision in H.B. 589 or any other election law

proposed during the 2013 session of the General Assembly.

REQUEST FOR PRODUCTION NO. 4:

All documents concerning communications between you and the office of the Governor of
North Carolina regarding any provision in H.B. 589 or any other election law proposed during the

2013 session of the General Assembly.

REOUEST FOR PRODUCTION NO. 5:

All documents concerning communications between you and any North Carolina state

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agency regarding any provision in H.B. 589 or any other election law proposed during the 2013

session of the General Assembly.

REOUEST FOR PRODUCTION NO. 6:

All documents concerning communications between you and any lobbyists, political
organizations, or public interest groups regarding any provision in H.B. 589 or any other election

law proposed during the 2013 session of the General Assembly.

REOUEST FOR PRODUCTION NO. 7:
All documents and communications received or created by you concerning procedural

irregularities in enacting H.B. 589.

REOUEST FOR PRODUCTION NO. 8:

All documents and communications received or created by you related to any incident of in-
person voter fraud or any incident of voter fraud involving absentee ballots from 1995 to the

present.

REQUEST FOR PROI)UCTION NO. 9:

All documents and communications received or created by you relating to reports or data
issued by the State Board of Elections concerning proposed, debated, or enacted voting legislation

during the 2013 session of the General Assembly.

REOUEST FOR PRODUCTION N(). 10:

All documents and communications received or created by you referring or relating to any
estimate, report, study, or analysis of the number, race, and/or ethnicity of registered voters who do

not have any of form of photo identification that is acceptable to vote under H.B. 589.

REQUEST FOR PRODUCTION NO. Il:

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All documents and communications received or created by you referring or relating to
estimates, reports, studies, or analyses of (i) the costs to voters to secureldocuments required to
obtain the photo identification required to vote as set forth in H.B. 589; or `(ii) the costs or expense
to the State of North Carolina associated with implementing the photo identification requirement set

forth in H.B. 589.

REOUEST FOR PROI)UCTION NO. 12:

All documents and communications received or created by you referring or relating to a
comparison of the State of North Carolina’s voter registration database with NCDOT records,
including but not limited to any such documents that provide a subset of registered voters who do

not have an NCDOT-issued ID.

REOUES'I` FOR PRODUCTION NO. 13:

All documents and communications received or created by you referring or relating to any
estimate, report, study, or analysis of H.B. 589’3 impact on future elections, including the impact of
H.B. 589 on voter turnout, one_stop absentee voting (early voting), and/or potential increased

waiting times at polls.

REOIB_ST FOR PRODUCTION NO. 14:

All documents and communications received or created by you referring or relating to any
estimate, report, study, or analysis of any provision in H.B. 589 or any election law proposed cr

enacted during the 20l3 session of the North Carolina General Assembly.

REOUEST FOR PRODUCTION NO. 15:

All documents and communications received or created by you relating to the cost or

expense, including any estimates or analyses, of administering any provision in H.B. 589 or any

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election law proposed or enacted during the 2013 session of the North Carolina General Assembly. .

REQUEST FOR PRODUCTION NO. 16:

` All documents and communications received or created by you relating to the costs or

ij _.

jj expense of election administration for local, state, and federal elections, before the implementation
l

ofH.B. 589.

 

REOUEST FOR PRODUCTI()N N(). 17:

All documents and communications received or created by you relating to any data tracking,

recording, and/or studying voting patterns by race.

 

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Dated: December 5, 2013

By:

Penda D. Hair
Edward A. Hailes, Jr.
Denise D. Lieberman
Donita .ludge

Caitlin Swain

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Respectfully submitted,

/s/ Adam Stet'n

 

Adarn Stein (N.C. State Bar # 4145)
Of Counsel

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